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 3   Telephone: (916) 557-1113
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 4   Email: billbonham@mylaw.comcastbiz.net
 5   Attorney for: Thomas GARCIA
 6
 7
 8
 9                 IN THE UNITED STATES DISTRICT COURT FOR THE
10                          EASTERN DISTRICT OF CALIFORNIA
11
12
13
     UNITED STATES OF AMERICA,                )       CR. No. CR-S 08-00392 GEB
14                                            )
15                          Plaintiff,        )       STIPULATION AND PROPOSED
                                              )       ORDER TO CONTINUE STATUS
16
                      v.                      )       CONFERENCE
17                                            )
18
     Thomas GARCIA,                           )
                                              )
19                          Defendant.        )       Hon. Judge Garland E. Burrell, Jr.
20                                            )
21
22              The defendant, Thomas Garcia, through his undersigned counsel, and the
23
     United States, through its undersigned counsel, hereby agree and request the
24
25   Status Conference currently set for Friday, March 18, 2011 at 9:00 am be vacated
26
     and continued until Friday, March 25, 2011 at 9:00 am.
27
28   // // //



                                                  1
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 1         A continuance is necessary to provide counsel with additional time for case
 2   preparation and for ongoing plea and sentencing negotiations.
 3
           The parties also stipulate that time should be excluded under the Speedy
 4
 5   Trial Act due to the needs of counsel for continued case preparation and ongoing
 6
     plea and sentencing negotiations. Local Code T4 & 18 U.S.C § 3161
 7
 8   (h)(7)(B)(iv).
 9
           I, William E. Bonham, the filing party, have received authorization from
10
11   AUSA Mike Beckwith to sign and submit this stipulation and proposed order on
12
     his behalf and that defense counsel has authorization from his respective client.
13
14         Accordingly, the defense and the United States agree and stipulate that the

15   Status Conference for defendant, Thomas Garcia, should be continued until
16
     Friday, March 25, 2011 at 9:00 am. The parties stipulate that the ends of justice
17
18   served by granting this continuance outweigh the best interests of the public and
19
     defendant in a Speedy Trial. 18 U.S.C. § 3161(h)(7)(A).
20
21   Dated: March 17, 2011
22
                                                  BENJAMIN B. WAGNER
23                                                United States Attorney
24
                                                  By:/s/ WILLIAM E. BONHAM for
25
                                                  MIKE BECKWITH
26                                                Assistant U.S. Attorney
27
28




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 1
 2   Dated: March 17, 2011
 3
                                                   By:/s/ WILLIAM E. BONHAM for
 4
                                                   WILLIAM E. BONHAM
 5                                                 Counsel for Defendant
 6                                                 THOMAS GARCIA
 7
                                           ORDER
 8
 9
           IT IS SO ORDERED THAT THE Status Conference for defendant, Thomas

10   Garcia, currently set for Friday, March 18, 2011 at 9:00 am should be vacated and
11
     continued to Friday, March 25, 2011 at 9:00 am.
12
13         I find that the continuance is necessary due to the needs of counsel for
14
     continued case preparation and plea/sentencing negotiations. Accordingly, time is
15
16   excluded under the Speedy Trial Act, due to needs of counsel for additional case
17
     preparation and ongoing plea/ sentencing negotiations, from March 18, 2011 up to
18
19   and including March 25, 2011 pursuant to Local Code T4 and 18 U.S.C. §
20   3161(h)(7)(B)(iv). I find that the ends of justice served by granting this
21
22
     continuance outweigh the best interest of the public and defendant in a speedy

23   trial. 18 U.S.C. § 3161(h) (7)(A).
24
           Date: 3/21/2011
25
26
27
                                                   _________________________
28                                                 GARLAND E. BURRELL, JR.
                                                   United States District Judge



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     DEAC_Signature-END:




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